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14
                   UNITED STATES DISTRICT COURT
15
         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
16
17 LOS ANGELES PRESS CLUB,                    CASE NO.: COMPLAINT FROM
   STATUS COUP, THE                           DECLARATORY AND INJUNCTIVE
18 SOUTHLANDER,                               RELIEF
19
            PLAINTIFFS,                       42 U.S.C. § 1983: U.S.
20
                                              CONSTITUTION: FIRST, FOURTH,
21          v.                                AND FOURTEENTH AMENDMENTS
22 COUNTY OF LOS ANGELES, LOS                 CALIFORNIA CONSTITUTION,
                                              ARTICLES 1, §§ 2, 3, 7, 13
23 ANGELES COUNTY SHERIFF                     CALIFORNIA CIVIL CODE § 52.1;
   ROBERT LUNA, sued in his official          CALIFORNIA PENAL CODE§ 409.7;
24 capacity;
                                              CALIFORNIA PENAL CODE § 13625
25
                DEFENDANTS.
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                 COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
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 1 I.      INTRODUCTION
 2         1.    Despite recent legislation designed to protect the First Amendment
 3 rights of journalists and protesters, reporters covering the recent protest continue to
 4 be at risk for serious injuries as a result of the unlawful conduct of the Los Angeles
 5 County Sheriff’s Department (“LASD”). This case responds to the continuing and
 6 escalating use of excessive force and the violation of constitutional and statutory
 7 rights by LASD deputies against journalists during recent protests in downtown Los
 8 Angeles and throughout the County against federal immigration policies. Dozens
 9 of journalists from around the world were present during these protests to record
10 and report on the events as they unfolded. These journalists were not engaged in
11 protest or unlawful activity and were exercising their First Amendment rights and
12 safeguarding the First Amendment rights of all members of the community.
13         2.    The protests against the Trump administration and its policies are
14 ongoing and likely to continue for the foreseeable future. The LASD’s use of
15 excessive force against journalists during the June 2025 protests has had a chilling
16 effect on their ability to report on these protests. It repeats the conduct already
17 enjoined by the federal court following the 2020 George Floyd protests and other
18 events where the public gathered in public places to express their views about the
19 government in general and the LASD actions in particular. Accordingly, unless this
20 Court takes action to stop the wrongful actions of the LASD against journalists,
21 Plaintiffs and members of the press will suffer irreparable harm.
22         3.    The LASD has a long history, as set forth below, of using excessive
23 force against demonstrators and the press in protests.         Because of what law
24 enforcement agencies throughout the State of California did in response to the 2020
25 Floyd protests, the Legislature enacted two measures, adding to the Penal Code and
26 detailing restrictions on the use of force as crowd control methods and ensuring safe
27 access for the press.
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 1         4.     Given that long history and the 2021 additions to the California Penal
 2 Code, LASD actions during the June 2025 protests in downtown Los Angeles reveal
 3 a brazen refusal to abide by the Constitution and state law. This action seeks
 4 injunctive and declaratory relief to require that the LASD respect the constitutional
 5 and statutory rights of journalists engaged in reporting on these protests and
 6 inevitable protests to come.
 7 II.     JURISDICTION AND VENUE
 8         5.     This is an action for injunctive relief for violations of Plaintiffs’
 9 federal and state constitutional, state statutory rights and their members’
10 constitutional and statutory rights. Jurisdiction exists pursuant to 28 U.S.C. §§ 1331
11 and 1343 as Plaintiffs assert a claim under 42 U.S.C. § 1983. Jurisdiction also
12 exists pursuant to 28 U.S.C. §§ 2201(a) and 2202, the Declaratory Judgment Act.
13 The Court has supplemental jurisdiction to consider Plaintiffs’ state law claims
14 under 28 U.S.C. § 1367 as these state law claims arise from the same common
15 nucleus of operative facts as Plaintiffs’ federal claims.
16         6.     Venue is proper in the Western Division of the Central District of
17 California pursuant to 28 U.S.C. § 1391(b) because the events and conduct giving
18 rise to Plaintiffs’ claims all occurred in the City and County of Los Angeles.
19 III.    PARTIES
20         A.     Plaintiffs
21         7.     Plaintiff LOS ANGELES PRESS CLUB (“LASC”) is a 501(c)(3)
22 nonprofit organization with no parent corporation and no stock. The organization has
23 more than 1,000 member journalists and news organizations in Southern California
24 and has operated since 1913 to support, promote and defend quality journalism. The
25 LAPC has been very active since the June 2025 protests in downtown Los Angeles,
26 and elsewhere in Los Angeles County, in monitoring and responding to attacks on
27 journalists during the protests. LAPC has been required to divert resources, money
28 and staff time, to respond to these attacks which are at the core of its mission for


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 1 the community and its members. LAPC members have also suffered excessive
 2 force and harassment by LAPD officers and continue to be threatened with such
 3 injuries and violations as protests continue.
 4         8.     Plaintiff STATUS COUP is an independent investigative reporting
 5 network and media outlet that focuses on in-field and investigative reporting.
 6 Status Coup’s Los Angeles based reporters are members of the Los Angeles Press
 7 Club. Status Coup regularly sends journalists into the field to investigate and
 8 report on protests in the City of Los Angeles. Status Coup has journalists on the
 9 ground during the June 2025 protests. Status Coup reporters have been subjected to
10 force by LASD Deputies while filming protests.
11         9.     Plaintiff THE SOUTHLANDER is the only dedicated investigative
12 news cooperative serving Greater Los Angeles. It is a worker-led nonprofit
13 newsroom based in Los Angeles, Long Beach, and Orange County.                     The
14 Southlander reporters have been subjected to force by LASD deputies during the
15 ICE protests. One such incident involved The Southlander journalist Ben Camacho,
16 who was shot twice by LASD deputies as he assisted injured photographer Nick
17 Stern, as discussed below.
18         B.     Defendants
19         9.     Defendant COUNTY OF LOS ANGELES is a municipal
20 corporation duly organized and existing under the Constitution and laws of the
21 State of California. The LASD is an agency of County of Los Angeles and all
22 actions of the LASD are the legal responsibility of the County. At all relevant times,
23 Defendant County was responsible for assuring that the actions, omissions, policies,
24 practices, and customs of the LASD and its employees and agents complied with
25 the laws of the United States and the State of California.
26         10.    Defendant SHERIFF ROBERT LUNA was, at all times relevant to
27 this action, the Los Angeles County Sheriff and a policymaker for the department.
28 He is sued in his official capacity.


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 1         11.    Plaintiffs are informed, believe, and thereupon allege that DOES 1
 2 through 10 were agents, servants, or employees of Defendant County and the
 3 LASD. Plaintiffs are ignorant of the true names and capacities sued herein as Does
 4 1 through 10, inclusive, and therefore sue these Defendants by such fictitious names.
 5 Plaintiffs will amend this Complaint to allege their true names and capacities when
 6 ascertained.
 7         12.    Plaintiffs are informed, believe, and thereupon allege that at all times
 8 relevant hereto Does 1 through 10, in addition to the named Defendants, are
 9 responsible in some manner for the damages and injuries alleged herein.
10         13.    Plaintiffs are informed, believe, and thereupon allege that at all times
11 relevant hereto, Defendants, and each of them, were the agents, servants, and
12 employees of the other Defendants and were acting at all times within the scope of
13 their agency and employment and with the knowledge and consent of their principal
14 and employer. At all times, Defendants acted under the color of state law.
15         14.    Plaintiffs are informed, believe, and thereupon allege that Defendant
16 County’s policies and failure of policies, including the failure to train its deputies
17 in constitutional and lawful responses to the rights of the press at demonstrations,
18 caused the unlawful action taken against Plaintiffs.
19 IV.     STATEMENT OF FACTS
20         15.    Starting on Saturday June 7, 2025, in Paramount, California,
21 widespread protests against federal immigration policy and actions started. These
22 protests spread to other parts of Los Angeles County in the days after the Paramount
23 protests, in particular, in downtown Los Angeles. LASD deputies were involved
24 in the policing of these protests. The several days of protests starting June 7, 2025
25 to date are referred to as the “June 2025 protests.”
26         16.    During the June 2025 protests LASD deputies targeted members of
27 the press with less lethal munitions and otherwise engaged in excessive force
28 against members of the press. These press members were not engaged in unlawful


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 1 behavior and gave deputies no reason to engage in force against them and thereby
 2 deny them their rights under the United States and California constitutions and
 3 California Penal Code §§ 409.7 and 13625.
 4         17.   The following are examples of members of the press subjected to
 5 excessive force by the LASD. These examples illustrate the manner in which
 6 LASD deputies violated the constitutional and statutory rights of the press.
 7         18.   Nick Stern – On June 7, 2025, Nick Stern, a freelance British
 8 photojournalist, wearing a prominent press pass, was documenting events in
 9 Paramount when LASD deputies opened fire with less lethal weapons. He was hit
10 in the leg with a less lethal munition which required emergency surgery. See
11 https://www.latimes.com/california/story/2025-06-11/lapd-treatment-journalists;
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     https://www.youtube.com/watch?v=HHpxfc0saCY.
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           19.   Ben Camacho - On June 7, 2025, Ben Camacho, a journalist and co-
24
     founder of The Southlander, was helping the injured photojournalist Nick Stern to
25
     safety when Mr. Camacho too was hit near his kneecap by a less lethal munition
26
     fired by LASD deputies.        See https://latimes.com/california/story/2025-06-
27
     11/lapd-treatment-journalists. Mr. Camacho, who was wearing a press pass around
28
     his neck, was struck a second time by another LASD munition in the elbow

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 1 moments later. https://pressfreedomtracker.us/all-incidents/journalist-shot-with-
 2 crowd-control-munitions-at-immigration-protest-near-la/;
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     https://www.youtube.com/watch?v=x4_04ElOKcg
13
           20.   J.W. Hendricks - On June 7, 2025, Photojournalist J. W. Hendricks
14
     was in the street approximately 100 feet from the sheriff’s skirmish line when he
15
     was hit in his leg with a less lethal munition despite his prominent “Press” vest.
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     https://bsky.app/profile/adamrose.bsky.social/post/3lr4kfaqj222k
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 1         21.    Tina Berg - On June 11, 2025 Tina Berg, a journalist with Status
 2 Coup News, was hit with a Kinetic Impact Projectile, (KIP), fired by LASD
 3 deputies as she was filming deputies. At the time, she was wearing a Kevlar
 4 because of what she had observed on prior days with KIPs being shot
 5 indiscriminately at protestors and press. The Kevlar protected against more
 6 serious injury from a direct shot but still left bruising.
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20         22.    On June 7, 2025 Abraham Márquez was filming a LASD skirmish
21 line in Paramount for The Southlander. While filming he saw a deputy aim a less
22 lethal launcher in his direction. Márquez raised his press credential yelling “PRESS,
23 PRESS” and turned to run in the opposite direction of the skirmish line. As he did
24 so he felt multiple less lethal munitions strike his back and buttocks.
25 https://www.latimes.com/california/story/2025-06-11/lapd-treatment-journalists
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 1         23.   On June 14, 2025, at 4:00 p.m., NBC News correspondent Jacob
 2 Soboroff was reporting from the streets in Los Angeles when LASD started using
 3 aggressive crowd control tactics against protesters, including firing less lethal
 4 munitions. Soboroff was forced to flee as LASD deputies fired munitions and
 5 trampled protestors with horses. Soboroff described the demonstrations he
 6 observed up to then as peaceful with no justification for the sudden force. See
 7 https://youtu.be/Sb7FvNbXLZ0
 8
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15         24.   At one point, the use of force by the LASD in downtown Los Angeles
16 was so uncontrolled that sheriff’s deputies were shooting less lethal munitions at
17 LAPD officers who were in the same general area near Temple and Main streets.
18 The incident was recorded on the LAPD’s radio scanner system, with an officer
19 proclaiming in horror that they were being shot by LASD. “We’re still taking gas
20 and less-lethal munitions from the Sheriffs over on Temple and Main,” one LAPD
21 officer said on the LAPD radio. “Hold your goddamn crossfire.”
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 1 https://lapublicpress.org/2025/06/ice-police-protest-lapd-lasd-tear-gas; See also,
 2 https://youtu.be/p53sy1anVvI.
 3         25.   These are only a few of the many incidents in which LASD deputies
 4 hit, or attempted to hit, members of the press with less lethal munitions. The
 5 widespread use of such force against members of the press underscores the LASD’s
 6 failure to live up to its obligations under constitutional and statutory law and the
 7 need for judicial intervention to prevent future abuses.
 8         26.   The LASD’s use of excessive force against members of the press
 9 covering protests is part and parcel of the LASD’s official policy, practice and
10 custom of violating the First and Fourth amendment rights of protesters and
11 journalists. Indeed, in response to the LASD’s use of excessive force against
12 protesters in the wake of the murder of George Floyd, the LASD was subject to
13 Preliminary Injunction issued on July 6, 2021, in the case of Berg v. County of Los
14 Angeles, No. CV 20-7870-DMG (PDx) [Dkt. #101]by the Hon. Dolly M. Gee of
15 the U.S. District Court for the Central District of California, which became
16 effective on August 1, 2021.
17         27.   In particular the Preliminary Injunction in the Berg case states in
18 relevant part:
19
           1. The Los Angeles Sheriffs’ Department is hereby enjoined from using
20         less lethal weapons, including foam rounds, pepper balls, tear gas
21         canisters, flash bang grenades, and stinger grenades, against any
           persons peacefully attending a protest, march, or other lawful gathering
22         unless reasonable, proportional, and targeted action is necessary to
           protect against a specific imminent threat of physical harm to officers
23         or identifiable others, to respond to specific acts of violence or
           destruction of property, or to enforce a declaration of unlawful
24         assembly and dispersal order pursuant to California Penal Code section
25         409.1
                  a. If reasonable, proportional, and targeted use of less-lethal
26                projectiles or chemical agents is necessary, foam rounds and any
27                projectile designed to be target-specific shall be aimed at
                  individuals causing the actual or imminent threats of harm,
28                violence, or destruction of property and shall not be
                  indiscriminately fired.

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                 b. Flash bang grenades, tear gas canisters, and other less-lethal
 1               means designed to be non-target-specific may be used in the
 2               manner they were designed to be used and shall not be
                 deliberately aimed to strike individuals.
 3         2. Whenever feasible, Los Angeles Sheriffs’ Department officers shall
 4         issue warnings and/or declare unlawful assembly before the reasonable,
           proportional, and targeted use of less-lethal projectiles or chemical
 5         agents.
                 a. Warnings must be given and repeated by means reasonably
 6               calculated to ensure that the warnings are heard.
 7               b. When warnings are given, reasonable time shall be given to
                 comply.
 8
           28. Although the Berg case was not brought on behalf of journalists, the
 9
     LASD’s use of less lethal munitions against journalists during the June 2025
10
     protests is a clear violation of the Preliminary Injunction protecting “persons
11
     peacefully attending a protest” in the Berg case.
12
     PENAL CODE SECTION 13652
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           29.    In addition to violating the Preliminary Injunction in the Berg case,
14
     the use of less lethal munitions against non-violent journalists covering the June
15
     2025 protests also violates Penal Code Section 13652, which was enacted in the
16
     wake of excessive police response to the George Floyd protests and became
17
     effective January 1, 2022. Penal Code Section 13652 provides in relevant part:
18
19         Except as otherwise provided in subdivision (b), kinetic energy
           projectiles and chemical agents shall not be used by any law
20         enforcement agency to disperse any assembly, protest, or
21         demonstration.
           (b) Kinetic energy projectiles 1 and chemical agents 2 shall only be
22         deployed by a peace officer that has received training on their proper
23
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               “Kinetic energy projectiles” means any type of device designed as less
     lethal, to be launched from any device as a projectile that may cause bodily injury
25   through the transfer of kinetic energy and blunt force trauma. For purposes of this
     section, the term includes, but is not limited to, items commonly referred to as
26   rubber bullets, plastic bullets, beanbag rounds, and foam tipped plastic rounds.
             2
               “Chemical agents” means any chemical that can rapidly produce sensory
27   irritation or disabling physical effects in humans, which disappear within a short
28   time following termination of exposure. For purposes of this section, the term
     includes, but is not limited to, chloroacetophenone tear gas, commonly known as

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           use by the Commission on Peace Officer Standards and Training for
 1         crowd control if the use is objectively reasonable to defend against a
 2         threat to life or serious bodily injury to any individual, including any
           peace officer, or to bring an objectively dangerous and unlawful
 3         situation safely and effectively under control, and only in accordance
           with all of the following requirements:
 4
              (1) Deescalation techniques or other alternatives to force have
 5            been attempted, when objectively reasonable, and have failed.
 6            (2) Repeated, audible announcements are made announcing the
              intent to use kinetic energy projectiles and chemical agents and
 7            the type to be used, when objectively reasonable to do so. The
              announcements shall be made from various locations, if
 8            necessary, and delivered in multiple languages, if appropriate.
              (3) Persons are given an objectively reasonable opportunity to
 9            disperse and leave the scene.
10            (4) An objectively reasonable effort has been made to identify
              persons engaged in violent acts and those who are not, and
11            kinetic energy projectiles or chemical agents are targeted toward
              those individuals engaged in violent acts. Projectiles shall not be
12            aimed indiscriminately into a crowd or group of persons.
              (5) Kinetic energy projectiles and chemical agents are used only
13            with the frequency, intensity, and in a manner that is proportional
14            to the threat and objectively reasonable.
              (6) Officers shall minimize the possible incidental impact of
15            their use of kinetic energy projectiles and chemical agents on
              bystanders, medical personnel, journalists, or other unintended
16            targets.
              (7) An objectively reasonable effort has been made to extract
17            individuals in distress.
18            (8) Medical assistance is promptly provided, if properly trained
              personnel are present, or procured, for injured persons, when it
19            is reasonable and safe to do so.
              (9) Kinetic energy projectiles shall not be aimed at the head,
20            neck, or any other vital organs.
              (10) Kinetic energy projectiles or chemical agents shall not be
21            used by any law enforcement agency solely due to any of the
22            following:
                     (A) A violation of an imposed curfew.
23                   (B) A verbal threat.
                     (C) Noncompliance with a law enforcement directive.
24            (11) If the chemical agent to be deployed is tear gas, only a
              commanding officer at the scene of the assembly, protest, or
25            demonstration may authorize the use of tear gas.
26   SENATE BILL 98
27
28 CN tear gas; 2-chlorobenzalmalononitrile gas, commonly known as CS gas; and
   items commonly referred to as pepper balls, pepper spray, or oleoresin capsicum.
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 1         30.    In 2021, California Governor Newsom signed into law Senate Bill 98,
 2 ensuring protections for the press to observe and record law enforcement activities
 3 at public protests. The Legislature recognized that, “[w]hile [existing] California
 4 law protects members of the press from being stopped when entering closed areas
 5 during emergencies and natural disasters to gather information, these protections
 6 don’t extend to protest events such as demonstrations, marches, protests, or rallies
 7 where individuals largely engage their First Amendment right to speech.” 2021
 8 California Senate Bill No. 98, California 2021-2022 Regular Session, available at
 9 https://trackbill.com/s3/bills/CA/2021/SB/98/analyses/assembly-public-safety.pdf.
10         31.    The bill’s author stated that law was enacted in response to widespread
11 assaults and arrests of reporters covering the protests in response to the killing of
12 George Floyd. “In California and across the country police have arrested, detained,
13 and have physically assaulted journalists with rubber bullets, pepper spray, tear gas,
14 batons, and fists. In many cases there are strong indications that the officers injuring
15 journalists knew their targets were members of the press. Members of the press risk
16 their personal safety and wellbeing each time they attend protest events to get the
17 public the information they need, but rubber bullets, teargas, and even arrest cannot
18 be the norm for an essential pillar of our democracy.” Id.
19         32.    SB 98 SEC. 2. added Section 409.7 to the Penal Code, which reads as
20 follows, in part:
21       409.7. (a) If peace officers … close the immediate area surrounding any
         emergency field command post or any other command post, or establish
22       a police line, or rolling closure at a demonstration, march, protest, or
         rally where individuals are engaged in activity that is protected pursuant
23       to the First Amendment to the United States Constitution or Article I of
24       the California Constitution, the following requirements shall apply:
                (1) A duly authorized representative of any news service, online
25       news service, newspaper, or radio or television station or network may
26       enter the closed areas described in this section.
                (2) A peace officer or other law enforcement officer shall not
27       intentionally assault, interfere with, or obstruct the duly authorized
28       representative of any news service, online news service, newspaper, or


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           radio or television station or network who is gathering, receiving, or
 1         processing information for communication to the public.
 2
     V.    MONELL ALLEGATIONS
 3
           33.    The County of Los Angeles, acting through the Los Angeles Sheriff’s
 4
     Department and Sheriff Luna, failed to conduct training on the use of force for
 5
     crowd control in general and on the rights of members of the press at protests
 6
     specifically. The need for training was obvious from a number of incidents during
 7
     the 2020 George Floyd protests and subsequent protests.
 8
           34.    On May 30, 2020, LASD deputies were present when the LAPD broke
 9
     up a large peaceful protest organized by Black Lives Matter at Pan Pacific Park
10
     after the killing of George Floyd by the police in Minneapolis. LASD deputies
11
     fired projectiles and tear gas indiscriminately at non-violent protesters. The use of
12
     the munitions was enormous and indiscriminate. The LASD fired a variety of KIPS,
13
     including at least 1,500 pepper balls, twenty 40 mm rounds, 10 “blast” ball
14
     grenades and 10 sting ball grenades.
15
           35.    In addition to shooting peaceful protestors, the LASD attacked
16
     members of the press documenting the LASD’s unlawful conduct. One of the
17
     reporters assaulted by the LASD on May 30, 2020 was Josie Huang. In 2023, Ms.
18
     Huang, a reporter for NPR member station LAist 89.3 (formerly known as KPCC),
19
     was paid $700,000 to settle her claim over her violent and unlawful arrest by the
20
     LASD while using her cell phone to film deputies and a peaceful protest on
21
     September 12, 2020. Deputies tackled Ms. Huang to the ground, injuring her, and
22
     stomped on her cell phone in an effort to destroy evidence of her violent arrest. 3
23
24
25    More than 50 years ago, on August 29, 1970, two LASD deputies fired several
      3


   tear gas cannisters into a crowded bar during the National Chicano Moratorium
26 March against the Vietnam War in East Los Angeles. One of those cannisters hit
27 Los Angeles Times columnist and leading Latino civil rights activist Ruben Salazar
   in the head, killing him instantly. More than 50 years ago, the County paid his
28 family $700,000 to settle their lawsuit. https://documents.latimes.com/salazar-


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 1         36.   The settlement in the Huang case required the LASD to provide
 2 deputies with briefings on press rights before patrol assignments to respond to
 3 protests and issue written guidance to all employees on the laws and policies
 4 governing their interactions with members of the news media, including SB-98,
 5 legislation that protects journalists’ rights to cover demonstrations, whose passage
 6 was     spurred    in   part    by    public   outrage    at   Huang’s    detention.
 7 https://www.rcfp.org/josie-huang-la-county-settlement,
 8         37.   More specifically, the LAPD failed to enact an adequate policy or
 9 convey that policy to its employees to ensure the protection of the rights protected
10 in SB 98 and California Penal Code §409.7. The need for training was obvious.
11 based on a series of incidents following the 2020 George Floyd protests.
12         38.   On August 25, 2020, a lawful, peaceful demonstration of
13 approximately 100 people marched through the streets of downtown Los Angeles
14 and were shot by the LASD using less-lethal projectiles and tear gas against the
15 demonstrators. They were marching to the County jail, a County of Los Angeles
16 facility, protesting the Pasadena killing of Anthony McClain, where they
17 encountered barricades described as a “giant slinky.” The protest reversed direction
18 and then marched back in the direction of Los Angeles City Hall. Without any
19 warning, dispersal order, or declaration of an unlawful assembly, LASD deputies
20 fired KIPS, pepper balls, and tear gas at the non-violent demonstrators as they
21 reached Broadway and Temple, effectively terminating the demonstration.
22         39.   In that same incident, the LASD deliberately targeted two legal
23 observers from the NLG-LA, readily identifiable by their green hats, with a tear
24
25
   independent-office-review/. Although several government reviews concluded the
26 LASD did not intentionally target Mr. Salazar, his killing at the hands of deputies
27 was deemed the result of poor training when dealing with protests and has created
   a longstanding mistrust of the LASD’s actions against the press. Little, if anything,
28 has changed since.


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 1 gas grenade. The legal observers were apart from the demonstrators and following
 2 directions from LASD deputies to move across the street when they repeatedly shot
 3 with KIPs in the legs and flash grenades as they ran away.
 4         40.    Barely one week later, on September 5, 2020, the LASD used
 5 unlawful force against a demonstration of approximately 250-300 people protesting
 6 the recent killing by LASD deputies of Dijon Kizzee, a Black man riding a bicycle.
 7 The protest was on Imperial Highway outside the Sheriff’s station in South Central
 8 Los Angeles. As the group listened to various speakers, LASD deputies in full riot
 9 gear opened fire on the assembled group without warning.               The deputies
10 indiscriminately shot a variety of KIPs, pepper balls, flash bangs, and tear gas
11 grenades.
12         41.    On September 8, 2020, the LASD chased down and violently arrested
13 Cal State Long Beach student journalist and freelance photographer Pablo Unzueta
14 as he was peacefully filming one of the Dijon Kizzee protests from the sidewalk on
15 Imperial Highway, ignoring his repeated statements that he was press and that he
16 had his press pass, jailing him, confiscating his camera and cell phone, invading
17 his privacy by repeatedly strip searching him at the jail, and returning his camera
18 without its memory card. The County paid $90,000 to settle his civil rights lawsuit.
19         42.    The Kizzee protests at the Sheriff’s station continued peacefully for
20 days.    During that time, the riot-gear clad Sheriff’s deputies surrounded the
21 protestors in an obious attempt to intimidate them. On September 11, 2020 a press
22 conference was called by the National Lawyers Guild at which the demonstrators
23 voiced complaints about the LASD’s mistreatment of them. Again, LASD deputies
24 dressed in riot gear surrounded the group, displaying less-lethal weapons.
25         43.    The Defendant County failed to have adequate policies to inform its
26 officers on the lawful presence of members of the press at protests and, to the extent
27 it had any such policies, failed to train officers on those policies. The training was
28 deficient before the passage of SB 98 in 2021, codifying the right of the press to


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 1 observe and document law enforcement activities free of being struck with
 2 unlawful force, whatever its form. The training continues to be deficient even after
 3 the passage of SB 98.
 4         44.    As a consequence of the County’s and Sheriff‘s failure, LASD
 5 deputies and officers assaulted members of the press, including members of the
 6 Plaintiff organizations, causing physical harm and fear to journalists who were just
 7 doing their jobs.
 8         45.    Defendants County and Luna had either actual or constructive
 9 knowledge of the different policies, practices, and customs alleged in the
10 paragraphs above and the foreseeable consequences of the failure to implement and
11 train on these state statutes and the rights they afforded to members of the press at
12 protests. Defendants also acted or failed to act with deliberate indifference.
13 VI.     CAUSES OF ACTION
14                          FIRST CLAIM FOR RELIEF
15           (First and Fourteenth Amendments to the U.S. Constitution.
     42 U.S.C. § 1983; California Constitution Art. I, § 2a; California Penal Code
16                           § 409.7, Penal Code § 13652)
17         46.    Plaintiffs reallege and incorporate herein by reference the preceding
18 and any subsequent paragraphs in this Complaint.
19       47. The First Amendment and California Constitution guarantee the right
20 of the press to access coverage of public officials, especially when they engage in
21 law enforcement conduct in public fora. In response to the significant and unlawful
22 restrictions against the exercise of this most fundamental right by the Defendants
23 in recent years, the California Legislature passed, and Governor Newsom signed,
24 Senate Bill 98 in 2021. Senate Bill 98 added Section 409.7 to the Penal Code,
25 establishing requirements to permit press access to areas of police actions as described
26 more fully hereinabove.
27       48. Significantly, this statute expressly prohibits law enforcement from
28 assaulting members of the press to prevent, interfere or obstruct them from


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 1 “gathering information for communication to the public.” Plaintiffs and their
 2 members were not engaged in any unlawful activity when they suffered the injuries
 3 described herein.
 4         49.    In doing the acts complained of herein, Defendants violated the First
 5 Amendment, Fourteenth Amendment, Article I, section 2 of the California
 6 Constitution, and California Penal Code sections 409.7 and 13652, depriving
 7 Plaintiffs and their members of their rights under the state and federal constitutions
 8 and California statutes.
 9                             SECOND CLAIM FOR RELIEF
10                      Violation of the Bane Act (Cal. Civil Code § 52.1)
11        50.     Plaintiffs reallege and incorporate by reference the preceding
12 paragraphs as though fully set forth herein. The federal and state constitutions and
13 relevant state statutes guarantee the right to freedom of the press, as well as to be
14 free from unnecessary and excessive force by law enforcement officers. Defendants,
15 by engaging in the wrongful acts and failures to act alleged above, denied these
16 rights to Plaintiffs by threats, intimidation, or coercion, to deter, prevent and in
17 retaliation for the exercise of the constitutional and statutory rights of Plaintiffs and
18 their members, in violation of Cal. Civ. Code § 52.1.
19        51.     California Civil Code, Section 52.1, known as the Tom Bane Civil
20 Rights Act, provides that : “if a person or persons, whether or not acting under color
21 of law, interferes by threat, intimidation, or coercion, or attempts to interfere by
22 threat, intimidation, or coercion, with the exercise or enjoyment by any individual
23 or individuals of rights secured by the Constitution or laws of the United States, or
24 of the rights secured by the Constitution or laws of this state,” a person may
25 prosecute an action “for damages, including, but not limited to, damages under
26 Section 52, injunctive relief, and other appropriate equitable relief to protect the
27 peaceable exercise or enjoyment of the right or rights secured, including
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 1 appropriate equitable and declaratory relief to eliminate a pattern or practice of
 2 conduct.” Cal. Civ. Code § 52.1.
 3        52.    As alleged herein, LASD unlawfully used force and the threat of force
 4 against Plaintiffs and their members to intimidate them and interfere with their
 5 constitutional and statutory rights to document public events as the press.
 6        53.    As a direct and proximate result of the aforementioned acts or
 7 omissions of Defendants, Plaintiffs are entitled to injunctive relief to require
 8 Defendants to end their unlawful policies, practices and customs and of Defendants
 9 that caused the violation of Plaintiffs’ rights under the federal and state
10 constitutions and statutory law.
11        54.    Plaintiffs are entitled to an injunction pursuant to California Civil
12 Code §52.1.
13 VII. REQUEST FOR RELIEF
14         Wherefore, Plaintiffs seek judgment as follows:
15         1.    A preliminary and permanent injunction restraining Defendants from
16 engaging in the unlawful and unconstitutional actions detailed above and retaining
17 Court jurisdiction to enforce the terms of the injunction;
18         2.    A declaratory judgment that Defendants’ alleged conduct violated
19 Plaintiffs’ rights under the federal and state Constitution and statutory laws;
20         3.    An award of attorneys’ fees pursuant to 42 U.S.C. § 1988 and Cal.
21 Civil Code §§ 52(b) & 52.1(h) and Cal. Code of Civ. Proc. § 1021.5;
22         4.    Costs of suit;
23         5.    Pre- and post-judgment interest as permitted by law;
24         6.    Such other and further relief as the Court may deem just and proper.
25
     Dated: June 18, 2023             Schonbrun Seplow Harris Hoffman & Zeldes LLP
26
27                                         /s/ Paul Hoffman        .
28                                    By: Paul Hoffman
                                      Attorneys for Plaintiffs

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